                  IN THE UNI ED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                          TEXARKANA DIVISION

UNITED STATES OF AMERICA §
                                       § No. 6 :22-CR-
v.                        §
                                       §
AARON STEPHENS §
                                       §
                               INDICTMENT

THE GRAND JURY CHARGE

                                COUNT ONE
                        Conspiracy to Res rain Trade:
                          15 U.S. C. § 1 (Bid Rigging)


         1. Be in in   t least i and around May 2013 and continuing

throu h at least in and around April 2018, in the Eastern District of Texas

and elsewhere, AARON STEPHENS, together with COCONSPIRATOR 1,

and others, both known and unknown to the grand jury, entered into and

engaged in a continuin combination and conspi acy to suppress and

eli inate competition by ri ing bids for overnment contracts performed for

the United States Army, includin at the Red River A y Depot ( RRAD ) in

Te arkana, Texas. The combination and conspiracy enga ed in by AARON

STEPHENS was a per se unlawful, and thus un easonable, restraint of

interstate trade and commerce in violation of Section 1 of the Sher an Act

(15 U.S.C. §1).
                                                                        Grand Jury
                                       i                                  Exhibit
           2. The charged combination and conspiracy co sisted of a

conti ui   agree ent, understan ing, and concert of action among AARON

S EPHENS, COCONSPIRATOR 1, and others, both known and unknown to

the grand jury, the substanti l ter s of which were to rig bids for contracts

providin operation and aintenance support services to agencies and

organiz tions within and/or subject to the control of the United States A my.

           3. A purpose and effect of this combination nd conspiracy was to

rig bids and give the false impression of co petition in order to obtain and

secure overnment contracts and receive pay ent thereof.

                       ELEVANT BUSINESS ENTITIES
      At ti es relevant to this Indictment:

           4. BUSINESS ENTITY 1 was a Li ited Liability Company ( LLC )

organized and existing u der the laws of Te as and w s owned, controlled,

and operated by COCONSPIRATOR 1. BUSINESS ENTITY 1 was involved

in, mong other thin s, the production, recreation, and sale of specialized

vehicle parts and components.

           5. HP LOGIT was an LLC or anized and e isting unde the laws of

Texas. HP LOGIT was involved i , among other things, contracting work

and vehicle refurbishment. At times, AARON STEPHENS p rtially owned,

operated, and controlled HP LOGIT.

           6. WHITE S PAINT BLAST was an LLC organized and e istin

                                       2
under the laws of Texas, WHI E S PAINT BLAST was involved in, among

other thin s, co tractin work and vehicle refurbish ent. At times, AARON

STEPHENS partially owned, operated, and controlled WHITE S PAINT

BLAST.

         7. BUSINESS ENTITY 4 was a corporation or anized and existing

under the laws of Del w re with principle pl ce of business in Milwaukee,

Wisconsin. BUSINESS ENTITY 4 was involved in, a on o her thin s, the

sale of specialized vehicle parts and components.

         8. BUSINESS ENTITY 5 was an LLC organized and existing under

the laws of Te as. BUSINESS ENTITY 5 was involved in, amon other

things, government contracting.

         9. BUSINESS ENTITY 6 (sometimes doing business under an abas)

w s n LLC or anized and existin under the laws of Texas. BUSINESS

ENTITY 6 was involved in, a on other thin s, janitorial services and

government contracting.

               METHOD AND MEANS OF CONSPIRACY

         10. For the purpose of for ing nd carrying ou the charged

combination and conspi acy, AARON STEPHENS, COCONSPIRATOR 1, and

others, both known and unknown to the rand jury, did those thin s that

they co bined and conspi ed to do, including, a ong other things:


                                      3
              a. Exch nged, pricin information and hid proposals with each

                 other for the purposes of submittin complementary (that

                 is, intentionally losin ) and rig ed bid proposals for

                 contractin services for the United States government, and

                 specifically, the United States Army.

              b. Requested fro , and a reed to rovide to, e ch other

                 co plementary and i ed bid proposals for contractin

                 services for the United States govern ent, and specifically,

                 the United States    my.

              c. Caused the submission, and directed to cause the

                 submission, of ri ed bids for contractin work for the

                 United States overnment.

              d. Accepted payments from or derived from the United States

                  overnment for contractin work obtained by, throu h, and

                with the aid of the combination and conspiracy.

                              OVERT AC S
                                   Bid 1

        11. In or about May 2013, the READ issued a solicitation for

contract number W911RQ-13-D-0016, for the refurbishment of add-on mo

kits for Heavy Ex nded Mobility Tactical Truck (HEM T) vehicles and

certain related work. COCONSPIRATOR 1 submitted a complementary bid

                                     4
on behalf of BUSINESS ENTITY 5 for a total of app oximately $12,425

million.

           12. Prior to submitti g BUSINESS ENTITY 5 s bid described

in Par. 11, COCONSPIR TOR 1 coordinated with AA ON S EPHENS to

ensure th t COCONSPIRATO Ts bid would be higher than a bid placed by

A RON STEPHENS for the firm HP LOGIT. The winnin bid placed by

A RON STEPHENS was for a total of appro imately $10.2 illion. HP

LOGI was paid a total of approximately $6,546, 22.25. HP LOGIT received

pay ents for this contract from the overnment up to and throu h on or

about January 18, 2018.

                                  Bid

           13. In or around January 2014, COCONSPIRATOR 1 sou ht to

obtain work from the READ to furnish certain wire harnesses. In orde to

obt in this contract, COCONSPIRATOR 1 coordinated by email on January

27, 2014 with    ON STEPHENS in order to obt in a complement ry bid.

COCONSPIRATOR 1 sent AARON STEPHENS the belo e-mail.




                                    5
   From:
   Date: onda January 27,2014
   Subject: Need a second quote
   loi.A.-.'O'i




   Aaron,

   Would you please send the attached quo,e | neecf a competitive bid fro
   you so I can close this deal on a few wiring harnesses. His email is below and your quote
   attached. Please put it on letter head and send him a new email with it attached




   Thank you sir




            14. COCONSPIRA OR 1 attached to his Ja uary 27, 2014, e-

mail a quote prepared by COCONSPIRATOR 1 for AARON STEPHENS to

submit, including pricin of approximately $4,140. COCONSPIRATOR 1

pl ced a bid of approxi tely $3,000 on behalf of BUSINESS ENTITY 1.

            15. On or bout January 28, 2014, AARON STEPHENS

submitted the prepared bid of $4,140 via e-mail to a government e ployee.

On or about the same day, AARON STEPHENS forwarded that e-mail to

COCONSPIRATOR 1, confirming that he had submitted the bid as

requested.

                                            Bid 3

            16. On or about May 1, 2014, the RRAD issued a solicitation for

contract number 911RQ-14-P-0068, for the inspection, inventory,
                                              6
refurbishment, and packaging standards of doors fo ilitary vehicles know

as Fa ily of Mediu Tactical Vehicles (FM Vs), as well as elated work.

         17. AARON S EPHENS requested that COCONSPIRATOR 1

sub it a complementary bid. On or about June 16, 2014, sent an e- ail

directin COCONSPIRATOR 1 to sub it a bid t a iven price per unit.


     Aaron Stephens <piatxrnanager@msn.com>
     6/16/2014 9:39:38 PM

     Fwd: removal of B armor (UNCLASSIFIED)
     Weed you to price this at $1050 each

     Sent, f coin rn iPhone

     kfegifi foraardedniessage:



         18. As re uested by AARON STEPHENS, COCONSPIRATOR

1 sub itted a complementary bid on behalf of BUSINESS ENTI Y 5.


         19. AARON STEPHENS placed a bid on behalf of HP LOGIT

for approxi ately $950 per unit, $100 less per unit than what AARON

STEPHENS requested that COCONSPIRATOR 1 bid. HP LOGIT, by and

throu h AARON STEPHENS, was awarded the contract, and received a total

of appro imately $10,300.66 in payments with the last payment bein

received on or bout Septe ber 9, 2015.


                                            7
                                            Bid 4

           20. On or about June 4, 2014, a government employee at the

BRAD e-mailed AARON STEPHENS, COCONSPIRA OR 1, and others

re rdin an ur ent need for the overn ent to test, rep i , and ship Battery

Powered Motorized T ave sin Units (BPMTUS). This solicitation eventually

became contract number W911RQ-14-C-001 . The cont ct involved

deliverin materials to the Sierra Ar y Depot, located in Herlong, California.

The below is an excerpt of that e-mail.

  Classificatimr UNCLASSIFIED
  Caveats: FOUO

  RRAD has an urgent requirement to Test, Repair, and Ship Battery Powered
  Motorized Traversing Unit (BPMTU) Controller Box, Joystick, Motor Driv ssembly
  and Electrical components. Deli ery will be 50 kits delivered to SI D by ugust 29,
  2014 and 100 kits delivered to SIAD by September 30,2014. ll BPMTU s are
  located at SIAD and will need to be picked up and returned to SIAD. All wor must be
  done v/ithln 100 miles of RRAD and inspections will take lace at contractors facility.

  You will find the follo ing documents attached: Specific Packaging Requirement,
  Re orting S readsheet, and complete SOW.


 y lf you are interested in quoting on th;s require ent, please res ond via ema l by
   Tuesday. June 10th at 8am CST
  If you have any questions please let me know.




          21. On or about June 9, 2014, AARON STEPHENS sent e-

mails to the government official regarding the solicitation described in Par.

20. AARON STEPHENS s e-mails included a bid proposal with pricing

                                              8
figures for a bid on. behalf of P LOGIT. An. excerpt of one e-mail is below.

» For a Red River Pick up and Sierra Array Depot del very it will be $1,148,52 ea h X 159
kits for a to al Of $172,278.15
»
» For a pick up f om Sierra Army De ot and live y back it will be $1,252.93 each X 150
ki s for a to al of $187,939.80
»
»
»
» Any questions please let me know.
»
» V/R


          22. On that sa e day, ARON S EPHENS e- ailed

COCONSPIRATOR 1 the p icin used in AARON STEPHENS s bid on behalf

of HP LOGIT. In the e-mail, AARON STEPHENS forwarded the pricin

information that had been prepared by a business associate of AA ON

S EPHENS.

          Aaron Stephens <piatxnnanager@msn.com>
          6/9/2014 6:50:42 PM

          Fwd: HUMVEE Turret Pricing


           Sent from, rtiy iPhone

           Begin forwarded message:



                 From'fyMH HHHHHHHH
                 Date: June 9,2014 at 1:19:54 PM CDT
                 To: c attmanaoerfimsacM
                 Subject: HUMVEE Turret Pricing




                 Pricing for qty 150 kits.

                 P ck up parts from READ and deliver to Sierra; $172,278.15
                 P ck up parts from Sierra Army De ot and dellverto Sierra: $187,939.80




                                                 9
          23. Using the bid pricin provided by AARON S EPHENS, on

or abou June 9, 2014, COCONSPIRATOR 1 supplied a complementary bid,

on behalf of BUSINESS ENTITY 4, which COCONSPIRATOR 1 priced a few

thousand dollars above AARON STEPHENS S bid. An excerpt of

COCONSPIRATO 1 s e-mailed bid is below.

 Thanks for the opportunity. proposes the following pricin for 150
 units.

 Pick up at Red iver Army Depot & return completed units to Sierra Ar y Depot.

 1167.72 per unit. Total 150 units 175,158.00

 Pick up at Sierra Ar y Depot & return co pleted units to sierra rmy De ot,

 1273.14 per unit. Total 150 units 190974.00

Thanks




          24. On or about June 23, 2014, HP LOGIT was awarded

contract W911RQ-14-C-0014 for the amount of approximately $187,939.50.

HP LOGIT received approximately $187,939.50, receivin a final payment of

appro imately $62,646.50 on or about October 31, 2014.

                                        Bid 5

          25. On or about June 18, 2014, the solicitation was released by

RRAD for contr ct W91 IRQ-14-0028 for the testing and repair of BPMTUS.

On or about June 24, 2014, AARON STEPHENS, COCONSPIRATOR 1, and

another person filed certification of for ation paperwork for an LLC with the

Texas Secreta y of State for the firm TEXARKANA PARTS A D


                                          10
LOGISTICS. In doing so, they became business partners in that compan ,

and owned, operated and controlled it. Nonetheless, AARON S EPHENS

and COCONSPIRATOR 1 continued to submit bids a ainst each other on

behalf of different firms.

            26. On or about July 8, 2014, a modification was made to the

solicitation, which equired bidding companies to ive additional line-item

details about their bids.

            27. On or about July 17, 2014, AARON STEPHENS sent

COCONSPIRATOR 1 an e-mail, in hich AARON STEPHENS asked

COCONSPIRATOR 1 to take the forward off and send the e- ail to the

contracting official, That e-mail included, as an attachment, complete pricing

information to use in order for COCONSPIRATOR 1 to place a bid on the

contract, with the shippin p ice per unit detailed as a separate line item, s

re uired by the July 8, 2014 modification. An excerpt of that e-mail, along

with excerpts of the attendant attachment, is below.

Aaron Stephens <aaron$sg@outlook.com>
7/17/2014 5:02:lf PM

Fwd:                     Attached                                     image
 If you get this please take the forward off of it and send it to MM| If I do t hear from you 1 will ve Hl
 send it for you.
 HHHthanged and wanted the shipping broken out. So this is corrected.
 Thanks

 Sent fro my iPhone

 Begin forwarded message:



                                                   11
  ITE NO   SUPPLIES/SERVICES ESTIMA ED U IT U IT PRICE ESTIM TED AMOUNT
                         QUANTITY i i, r
 0001                                    2,394 Each                < <=>6.
           Test, Repair an sla ping of BPMTU
           FFP
            est, Re air an shi ping of Program Batten, Powered Motorized Traversing Unit
           (BPMTU) Controller Box, Joystick, Motor Drive Assembly and Electrical
           co ponents.


           FOB: Destination
           PURCHASE REQUEST NUMBER: A5123001280099




                                                                  ESTIMATED
                                                                    NET AM



   ITEM NO SUPPL1ES/SERV1CES ESTI A ED UNI                               UNI PRICE           ESTIMA ED MOUNT
                           QUANTITY
   0003 2, 94 Buch
             BP TU SHIPPI G
             FFP
             Shipping of com lete BP TU Kits to SIAD accordi g to schedule outline in each
            DO. Shipping will take place each quarter,
             FOB: Dcslinotion
             PURCHASE REQUEST NUMBER: 512 0012800 7



                                                                   ES IMA ED
                                                                     NET MT




           28. COCONSPIRATOR 1 did as A RON STEPHENS asked

 nd submitted this complementary bid to the contr c ing official on behalf of

BUSINESS ENTITY 5. In turn, AARON STEPHENS sub itted bid on

behalf of HP LOGIT for a total of approxi tely $2,750,706.00, including

shippin . HP LOGIT received a total of approximately $2,896,956.00, with

the last pay ent being made on or about January 6, 2016.




                                                           12
                                    Bid 6

         29. In or around July 2014, the BRAD released a solicitation

fo contract W911RQ-14-D-0029 for the complete rebuild of M915 andM917

milita y vehicle cabs and related work. AARON STEPHENS coor inated

with CO CONSPIRATOR 1 to submit co plementa y bids th ough other

companies to create the false im ression of actual co petition.

         30. On or about Au ust 11, 2014, AARON STEPHENS

submitted co ple entary bid on behalf of HP LOGIT for a total of

approximately $5,305,250.

         31. On or about Au ust 17, 2014, COCONSPIRATOR 1

submitted bid on behalf of BUSINESS ENTITY 4 for approximately

$4,970,000.

         32. On or about September 24, 2014, COCONSPIRATOR 1 was

notified, via e- ail, that BUSINESS ENTITY 4 had received the cont act and

was asked to sign the award paperwork. BUSINESS ENTITY 4 eceived a

total of appro i ately $7,616,495.60 for its work on this cont act with

payments received throu h on or about June 16, 2017.

                                    Bid 7

         33. In or a ound January 2017, the overnment was receiving

bid pro osals for contract W56HZV-17-D-0034 for the ref rbishment of

Reusable Metal Containers that the Army needed to store and ship

                                      13
equipment, including ili ary vehicle pa ts and en ines.

        34. AARON STEPHENS, through HP LOGIT, and

COCONSPIRATOR 1, throu h BUSINESS ENTITY 5, coordinated the

exchan e of p icing infor ation by and throu h subordinates: PERSON 1

and PERSON 2. COCONSPIRATOR 1 directed PERSON 1 to compile

BUSINESS ENTITY 5 s bid, share biddin information with PERSON 2 for

HP LOGIT s use, and to submit BUSINESS ENTITY 5 s bid. On or about

January 17, 2017, PERSON 2 shared HP LOGIT s bidding information with

PERSON 1, via e-mail.

                    To
                 From
 Date/Time - UTC+00:00    1/17/2017 3:58:19 PM
             (M/d/yyyy)
                Subject   HPLogIT Bid
                  Body     Good morning! Attached is HP s bid
                           Thanks,




        35. On or bout January 23, 2017 and on o about J nuary 25,

2017, COCONSPIRATOR 1 and PERSON 1 e changed an e- ail related to

BUSINESS ENTITY 1 and an e-mail the bid th t PERSON 1 ultimately

submitted on behalf of BUSINESS ENTITY 5.




                                     14
            36. On or about Janua y 25, 2017, PERSON 1 sent PERSON 2

an e-m il, which read in par Can you please resend t e container bid that

[COCONSPIRATOR 1] had you send to e before?

  1/25/20174:53:34 PM

  container quote

   Hi I dian you please resend the container bid that| j£|had you send to me before? I can't seem
                                                                        Tha s,




            37. After coordination and exchanging infor ation, including

throu h the e-mails described in Pars. 35-38, BUSINESS ENTI Y 5

sub itted a bid to the overnment of approxi ately $877,200 and P LOGIT

sub itted a comple entary bid of approxi ately $902,955. BUSINESS

EN I Y 5 was a arded the contract, and ulti ately eceived a total of

appro imately $479,500 worth of payments, with the last pay ent being

received on or about April 30, 2018.

                                RADE AND COMME CE
            38. Durin the period covered by this Indictment, AARON

STEPHENS and his coconspi ators business ctivities in connection with the

perfor ance of ove nment contracts obtained during and in relation to the

conspiracy were within the flow of, and substantially affected, interstate

trade and commerce. AARON STEPHENS and his coconspirators used the

internet, interstate highways, and other instru entalities of interstate



                                               15
commerce to effectuate their conspiracy. AARON STEPHENS and. his

coconspirators purchased, or caused to be pu chased, and shipped, or caused

to be shipped, goods that traveled in and substantially affected interstate

trade and com erce.

      ALL IN VIOLATION OF TITLE 15, UNITED STATES CODE,

SECTION 1.


                                 COU T WO
                   Conspiracy to Defraud the United States
                              18 U.S.C. § 371:



         39. Pa a raphs 4 throu h 38 are realleged and incorporated by

reference s if they were f lly set forth he ein.

         40. Beginning t least in and around May 2013 and continuing

throu h at least in and around April 2018, in the Eastern District of Texas

and elsewhere, AARON STEPHENS, together with COCONSPIRATOR 1,

and others, both known and unknown to the grand ju y, did knowin ly and

willfully combine, conspire, confederate and a ree to defraud the United

States and a encies thereof, to wit, the United States Army, to impair,

obstruct, and defeat by dishonest means and misrepresentation the lawful

function of the United States Ar y s purchasin of oods and services

through a competitive bidding p ocess in violation of 18 U.S.C. § 371.

         41. The charged combination and conspiracy consisted of a

                                      16
contin ing a reeme t, unders anding, and conce t of action among AARON

S EPHENS, COCONSPIRATOR 1, a d others, both known a d unk ow to

the rand jury, the substantial terms of which were to sub it f audulent and

ri ed bids for contracts providin operation and aintenance suppo t

services to a encies and or anizations within and/or subject to the control of

the United States Ar y.

          42. The object of the conspi acy was for AARON STEPHENS,

COCON PI ATOR 1, and others, to interfere and obstruct the United States

A y s purchasin of goods and services th ou h a competitive biddin

p ocess, as specified by law. The purpose and effect of this combination and

conspiracy was to submit fraudulent and i ed bids and ive the false

impression of competition in order to obtain and secure overnment contracts

and receive payment thereof.

      ALL IN VIOLATION OF TITLE 18, UNITED STATES CODE,

SECTION 371.

                                  COUNT HREE
                    Conspiracy to Defraud the United States
                                18U.S.C. §371:

         43. Para raph 9 is realleged and incorporated by reference as if

it were fully set forth herein.

         44. Be innin at least on or around June 10, 2019, and

continuin throu h at least on or a ound June 25, 2020, in the Eastern

                                      17
District of Texas and elsewhere, AARON STEPHENS, together with

COCONSPIRATOR 2, a d others, both k ow a d unk ow to the rand

jury, did knowin ly and willfully combine, conspire, confederate and a ree to

defraud the United States and a encies thereof, to wit, the Unite States

Ar y, to impair, obst uct, and defeat by dishonest means and

  isrepresentation the lawful function of the United States Army s

purchasin of oods and services throu h a competitive bidding process in

violation of 18 U.S.C. § 371.

         45. The ch rged combination and conspiracy consisted of a

continuin a reement, understandin , and concert of action amon AARON

STEPHENS, COCONSPIRATOR 2, and others, both known nd unknown to

the gr nd jury, the substantial ter s of which were to submit fraudulent and

rig ed bids for a contract to provide construction work related to a natural

 as distribution system for gencies nd org nizations within and/or ubject

to the control of the United States Army.

          6. The object of the conspiracy was for AARON STEPHENS,

COCONSPIRATOR 2, and othe s, to interfere and obstruct the United States

Army’s purchasing of services through a co petitive biddin process, as

specified by law. The purpose and effect of this co bination and conspiracy

w s to submit rig ed bids and ive the false impression of co petition in

order to obtain and secure a government contract and receive payment

                                      18
thereof.

                    RELEVANT BUSINESS ENTITIES

      At times relevant to this Indictment:

           47. BUSINESS ENTITY 8 was a corporation organized and

existing under t e laws of California. BUSINESS ENTITY 8 was involved in,

 mon other things, construction and contractin work.

           48. STEPHENS SERVICES GROUP was an LLC or anized

and e istin unde the laws of Te as, with a re istered address in

Te arkan , Te as, nd was owned, controlled, and operated by AARON

STEPHENS and COCONSPIRA OR 2. ARON STEPHENS owned a 51%

share of the entity and COCONSPIRATOR 2 owned a 49% share.

STEPHENS SERVICES GROUP was i volved in, amon other thin s,

construction and contracting work.

                METHOD AND MEANS OF CONSPIRACY


           49. For the purpose of for in and carryin out the ch r ed

combination and conspiracy, AARON STEPHENS, COCON PIRA OR 2, and

others, both known and unknown to the grand jury, did those thin s that

they combined nd conspi ed to do, includin , among other thin s:

                a. Determined and agreed to provide, for their own benefit,

                  complementary and ri ed bid proposals for contracting


                                      19
                  services far the United States government, and specifically,

                  the United States A my.

               b. Excha ed pricing informatio a d bid proposals with each

                  other for the purposes of sub itting co plementary and

                  rig ed bid proposals for contracting services for the United

                  States government, and specifically, the United States

                   rmy.


               c. Caused the sub ission, and directed to cause the

                  submission, of ri ged bids for cont acting work for the

                  United States government.

               d. Accepted payments from or derived from the United States

                  govern ent for contractin work obt ined by, through, and

                 with the aid of the co bination and conspiracy.

                               OVERT ACTS
                                    Bid 8

         50. On or about June 6, 2019, a soficitation was released for

wo k needed to replace a natural as pipeline at the Pine Bluff Arsenal in

Arkansas. This soficitation would beco e contract W911RP- 19-C-0002 for

the replace ent of a natural as distribution system at the Pine Bluff

Arsenal in A kansas (the as line project ).

        51. On or about June 10, 2019, AARON STEPHENS and

                                     20
COCONSPIR TOR 2 had determi ed tha they would assist BUSINESS

EN I Y 8 in obtaining a contract for the as line project. AARON

STEPHENS and COCONSPIRATOR 2 deter ined to do this so that their

company, STEPHENS SE VICES G OUP, could perform subcontractin

work for BUSINESS ENTITY 8 and receive financial benefit therefrom.

            52. On or about June 10, 2019, COCONSPIRATOR 2 sent an e-

 ail to PERSON 3, which included attached materials related to the

preparation of a bid for the as line project. AARON STEPHENS was carbon

copied on the e- ail.




 Sen ondav un O ZOigim M

  Cc:|
  Subject: PBA Project



  I have attached the documents forthe gas line distribution system project at Pine Bluff Arsenal. If you will take
 a look at pages 6-9 of the solicitation, e need to get to ether and fi ure out what e ant to include in our
 first proposal. Thank ou sir.



 V/R


 SSG


            53. On or about June 19, 2019 AA ON STEPHENS and

COCONSPI ATOR 2 both attended a site visit at the Pine Bluff Arsenal

related to the as line project. COCONSPIRATOR 2 wrote his na e, phone

 umber, and e- ail on a si n in sheet and listed his affiliated company as


                                                        21
 BUSINESS ENTITY 8 . AARON STEPHENS filled out the same sign in

sheet, listing his affiliated co p ny as the known alias for BUSINESS

ENTI Y 6.

             54. On or about July 8, 2019, ARON STEPHENS submitted,

through e-mail, a step one proposal on behalf of BUSINESS ENTITY 6 for

the as line p oject. A portion of that e- ail is included below.

  From;                      Aaron Stephens <aaronssg@outlook.com>
  Sent:
  To:
  Cc;                            wStepnens ™" ™"™"8™™8
  Subject:                    [Non-DoD Source]BtaMUj Step One Proposal for W91IRP19R0004
  Attachments:               | Proposal.pdf; ggg|s I- T 42.pdf

  Good afternoon,




  Attached isHMMM s Step One proposal for the Natural Gas Distribution Syste project at PBA. The SF1442 is
  attached se arately, if you have any questions, please let e know. Thank you.




  V/R


  Aaron Stephens

  Construction Manager




            55. On or bout July 9, 2019, COCONSPIRATOR 2 sub itted

throu h e-mail, a step one proposal on behalf of BUSINESS ENTITY 8 for

the as line project. A portion of that e-mail is included below.




                                                       22
  From:                              HKSfl@outlook.co >
  Sent:               luesw uiya, 2o"y i":49 AM
  To:
  Co:
  Subject:            iisaiHiEMigil i                            Step One Proposal
  Attachments:                      | Step One Proposal.


  Good orning,




  Attache is the Step One ro osal foi if you have any questions or need any additional
  documentation, lease l t me know. Than you for your time.




  V/R




             56. The proposals submitted by AARON STEPHENS and

COCONSPIRATOR 2 were, in part, substantially si ilar, including certain

portions of text that ere identical.

             57. On or about August 6, 2019, BUSIN SS ENTITY 8

submitted a bid to perform the work for the as line project of appro imately

$5,999,707.

             58. On or about Au ust 7, 2019, AARON STEPHENS, on

behalf of BUSINESS ENTITY 6, submitted a complementary bid to perform

work for the as line project of app oxi tely $6,090,536.00. AARON

STEPHENS wrote and signed his name for the submission, and identified

himself as a Construction Manage fo BUSINESS ENTITY 6.




                                              23
         59. On or about Augus 19, 2019, BUSINESS ENTITY 8 was

awarded contract W911RP-19-C-0002.

         60. BUSINESS ENTITY 8 received a tot l of $5,677,324.08

with, final payment received on or about June 25, 2020.

     ALL IN VIOLATION OF TITLE 18, UNITED STATES CODE,

SECTION 371.




                                                 A TRUE BILL:



                                          GR P     RYFQREPERSON




                                     24
                                       16
JON THAN S. nTER                   JA IES J. FREDRICKS
Assistant At orney Ge eral         Chief, Washington Cri inal II
                                   Office



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